1. Where a petition seeks cancellation of a written instrument and alleges that the instrument sought to be canceled was "a release from all further claims," in construing the petition most strongly against the pleader, which must be done, the instrument will be construed as a full contract of release, and not merely a receipt.
2. Where it is sought to set aside a written instrument which is a full contract of release from all further claims, and not merely a receipt, parol evidence is not admissible to vary or alter its terms. Walters v. Odom, 53 Ga. 286, 289;  Southern Bell Telephone c. Co. v. Smith, 129 Ga. 558
(59 S.E. 215); Pennsylvania Casualty Co. v. Thompson,  130 Ga. 766 (61 S.E. 829); Jewell v. Norrell, 66 Ga. App. 11
(4) (16 S.E.2d 797).
3. Where a liquidated debt, upon which there is no dispute as to the amount due, is agreed to be settled for less than its face value and the settlement is consumated by the payment of the amount agreed upon and the execution and delivery of a writing stating that it is "a release from all further claims," this is an accord and satisfaction and an extinguishment of all liability therefor by the debtor. Code, § 20-1204; Tarver v. *Page 787  Rankin, 3 Ga. 210; Brown v. Ayer, 24 Ga. 288; Tyler Cotton Press Co. v. Chevalier, 56 Ga. 494 (5); Burgamy
v. Holton, 165 Ga. 384 (3) (141 S.E. 42); Collier v.  Mayflower Apartments, 196 Ga. 419 (2) (26 S.E.2d 731).
4. A petition, seeking the cancellation of the instrument above described, in which there was no sufficient allegation of fraud, or other grounds authorizing a cancellation, was subject to the general demurrer interposed thereto, and the trial court erred in overruling the same.
Judgment reversed. All the Justices concur.
                      No. 16521. FEBRUARY 16, 1949.
Mildred Watkins Bowers filed in Floyd Superior Court, against Wendell Dean Crow, a petition which alleged substantially the following: The defendant was indebted to the petitioner in the sum of $859.40, which debt arose out of a series of loans made during 1946. The defendant promised to pay all of the loans on demand, but he has refused so to do. The money was desperately needed by the petitioner for the purpose of paying doctors and hospital bills incurred by her as the result of the serious illness of her son who was suffering from pneumonia, and for the purpose of obtaining further treatment of her son's illness, that required the administration of sulfa drugs which were most expensive. The defendant, fully aware of the above circumstances, told the petitioner that he could not pay the amount due her at that time, but again agreed to pay her in full. The petitioner, beset by her tribulations and her critical need for cash, pleaded with the defendant to pay her at least a part of the amount owed to her. Whereupon, the defendant procured a loan and arranged for $50 to be delivered to the petitioner if she would sign a release from all further claims which she might have against him for the entire debt, thereby seeking to defraud, coerce, and take undue advantage of her extreme and immediate need for cash. The stress of the situation and the coercion incident to the fear which the petitioner felt for her child's health and very life had rendered her incapable of forming sound judgments or of conducting her business affairs. The defendant, fully cognizant of the pressure to which he was submitting the petitioner, importuned her to take the money and sign the release, promising her that he would repay her the debt in full at an early date in spite of the release. The petitioner's desperate *Page 788 
need for money, coupled with the overpersuasion of her reason by the defendant, finally forced her to agree to accept the $50 and sign the release. Subsequently the defendant has reiterated his promise to repay the petitioner in full for the money he had borrowed from her, but he now refuses so to do. The petitioner has tendered and continues to tender the $50 she received for signing the release, but the defendant has refused to accept the same. The prayers were: that the court of equity assume jurisdiction, since the petitioner has no adequate remedy at law; that process issue; that the release signed by the petitioner be declared null and void; that the petitioner have judgment against the defendant for $859.40, less the $50 received in consideration of signing the release; and that the petitioner have general equitable relief.
The defendant demurred on the sole ground that the petition failed to set forth a cause of action. The trial court overruled the demurrer, and the defendant excepted.